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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 Jennifer Harding, et al.,

                        Plaintiffs,
 v.

 John Bel Edwards, the Governor of the State
 of Louisiana, in his Official Capacity, et al.,

                        Defendants,                Civil Action: 3:20-cv-495

         and

 The State of Louisiana,

                        Intervenor.




                                              ORDER


CONSIDERING the foregoing Motion for Modification/Correction:

       IT IS ORDERED that the Motion is GRANTED, and Docs. 88 and 89 are modified and

corrected to note that Sunday, October 18, 2020 is excluded from early voting for the November

2020 election.



         READ SIGNED AND DATED this _____ day of _______________, 2020, in

                                      Baton Rouge, Louisiana.


                        ________________________________________
                            UNITED STATES DISTRICT JUDGE
                                   Judge Shelly D. Dick
